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                                                           May 15 2023

                                                           s/ melindajwilliams




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